Case 2:03-cV-02147-.]DB-tmp Document 53 Filed 06/07/05 Page 1 of 2 Page|D 67

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05JUH_7 PH h:lh
WESTERN DIVISION

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Lf, L‘.E;“. ‘ m c*r.
§.D.F:r;zf wl :~J@E:vzs~vs
JANICE P. wILLIAMs-coox,
et al.,

Plaintiffs,
vs.

Civ. No. 03-2147-Ma[P

NORTHWEST AIRLINES, INC.,
et al.,

Defendants.

v\._r-.z'~_rv\._r'~_z\_¢\..u\~_¢\_d`_¢\..u

 

ORDER GRANTING CONTINUANCE

 

Before the Court is plaintiffs Janice P. Williams-Cook and
Robert Cook, Jr.'s, Motion to Continue Scheduling Conference. For
good cause shown, the motion is GRANTED. The scheduling conference
is re-set before Magistrate Judge Tu M. Pham, Courtroom #6, Third

Floor, to July 28, 2005, at 09:30 a.m.

 

 

IT IS SO ORDERED. j
TU M. PHAM
United States Magistrate Judge
JMM "f, 3-0<>5"
Date

   

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Honorable J. Breen
US DISTRICT COURT

